                    Case 2:15-cr-00118-KJM   Document
                                  IN THE UNITED STATES102  Filed 05/16/17
                                                       DISTRICT  COURT Page 1 of 1
                                            EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                               Plaintiff,

                       v.                                CR NO: 2:15-0118 GEB

DAVID DIXON

                              Defendant.


                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:     David Dixon
Detained at           Soledad Correctional Facility
(custodian):
Detainee is:          a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                               charging detainee with: 18:1956(h) Conspiracy to Launder Monetary Instruments
                 or   b.)    ☐ a witness not otherwise available by ordinary process of the Court
                               ___________________
Detainee will:        a.)      ☐ ___________________
                                 return to the custody of detaining facility upon termination of proceedings
                 or   b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                is
                                 ____________
                                   currently being served at the detaining facility

                       Appearance is necessary FORTHWITH in the Eastern District of California.

                      Signature:                               /s/Paul A. Hemesath
                      Printed Name & Phone No:                 PAUL A. HEMESATH 916-554-2932
                      Attorney of Record for:                  United States of America

                                            WRIT OF HABEAS CORPUS
                            ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, [FORTHWITH] and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated: 5/15/2017                                           /s/ Carolyn K. Delaney
                                                           /s/
                                                           Honorable Carolyn K. Delaney
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                ☒Male      ☐Female
Booking or CDC #:      BA4474                                                             DOB:       02/21/1979
applicable):
Facility Address:      Highway 101 North, Soledad CA 93960                                Race:
Facility Phone:        (831) 678-3951                                                     FBI#:
Currently

Incarcerated For:                                 RETURN OF SERVICE
Executed on:
                                                            (signature)
